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 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                          CASE NO. 1:09-CR-00272 DAD

10                                 Plaintiff,           ORDER DISMISSING DEFENDANTS FROM
                                                        INDICTMENT
11                          v.                          (Fed.R.Crim.P 48(A))

12   MARIO ALBERTO CAZARES-ZAMORA,
     MIGUEL ANGEL MEDINA-TRAPERO
13   CARLOS ESTEBAN ALACON-CHIQUETE,
     LUIS BERNARDO FELIX-ORRANTIA,
14   RUBEN ROMAN_MONTES,
     ADRIAN AGUILAR-MAGANA,
15   LEONARDO AGUILAR-MAGANA,
     MARIO AGUILAR-MAGANA,
16
                                   Defendants.
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19          The United States of America, having moved this Court to dismiss the indictment as to the

20 defendants identified in the caption of this order above only, pursuant to Rule 48(a) of the Federal Rules

21 of Criminal Procedure, without prejudice and in the interest of justice and good cause appearing;

22          IT IS HEREBY ORDERED that the indictment in the above-entitled case be dismissed as to

23 those defendants only without prejudice in the interest of justice.

24          IT IS FURTHER ORDERED that the warrants as to these dismissed defendants be recalled and

25 this case be closed.

26
     IT IS SO ORDERED.
27

28      Dated:     September 6, 2019
                                                      UNITED STATES DISTRICT JUDGE
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